03 Case 2:03-cV-00064-KOB Documentl Filed 01/10/03 Pagelon

General Complaint Fom\ for Pro Se litigants

 

 

 

 

 

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FOR THE NORTHERN msch oF ALABAMA ‘ 3 19 PH 12: 55
U~-S 113,{ ){~r \,
Bg;g,§[( 251 ANN£ Bg&§)i@m /- ?.03
Cv~oS-BE~ooéa-S
(Encer above the full names(s) of the
plaintiff(s) in this action.)
vs.
Ln/.E RO\{ LHN_DR\,LP/\
C/`)LL]/ dc Ad_amsw` {lz»/
HDBMSWLLE PQ¢¢@€ mem
(Enter above the full zame(s) of the g
defendant(s) in this action.)
1. At all times hereinafter mentioned, plaintiff was and still is a resident of
AA;)m§vi/Ie,, Na¢ . Plaintiffresid¢s at

 

F-D~ gm ‘,',175-»~ l?d- Mam&m`/je_,A/,‘ 350¢5

2. Defendant ngq £ gail ill )d{L(/U¥\ isa corporation

incor]iorated under the laws of A|EBHH)& D&£§£ ZLQN § )Q¢Af§{jj and has a main
office at … mv L- and is licensed to do business

in ALHBA mPr . D¢fmdam's official wm adam

is 901-14 BDKESHBQ& BQ \/;11' Mwmnm` ( 1¢,W~ ZSOOS`

 

 

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OR

Defendam C ' ¢ ` - L
is a United States government agency.

OR

D¢r¢ndam sla/mh

is a state agency.

 

OR

Defendmt_g££&eLM€od£l;iaaL__,_d£Lc§LEenteud¢_is a resident of
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3. The jurisdiction of this court is invoked pursuant to v 2 8 61‘5- (’ ~ 5 ~ ZZ$"/

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State here, as briefly as possible the FACTS of your case. Describe how each defenth
is involved, Include, also the names of other persons involved, dates and places. Do not give any
legal arguments If you intend to allege a number of related claims, number and set forth each
claim in a separate paragraph. Use as much space as you need. Attach extra sheets if necessary

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4. Statement of Claim

  

 

       

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State briefly exactly what you want the court to do cig you. Do not make legal arguments
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Address
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City, State ’ Zip Code
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NOTE: Pro se litigants must keep the Clerk of the Court informed of their correct address and
telephone number during the entire lawsuit. Failure to do so is grounds for dismissal of the case.

OPTIONAL mZUEST EX!R SERV]CE QF PRQ§ES§ BX §LU

Plaintiffs who have paid the filing fee may request the Clerk of Court to perfect service of process
by certified mail by indicating below. Plaintiffs must provide service copies of the complaint,
prepared summonses and pre-paid envelopes made returnable to the C]erk of Court.

NOTE: Cer'tifled mail service by the Clerk of Court on federal defendants is NOT AN OPTION

for plaintiffs who pay the filing fee.
Signature 03 Plaintiff`

Dated: 0[ - 07 »03

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Thursday, January 09, 2003

The enclosed request for relief was filed in the Municipal Court of
Adamsvil|e, Alabama on January 7, 2003. l appeared in Court that day to
request that l be appointed an attorney for my defense.

The judge was very rude to me and made the following comments
concerning the enclosed request for relief, comments to the entire
courtroom, and to me.

He said, "Who wrote this up?" l said, "l did". He said, "Huh, you
sho" didn't know what you were doing, did you, coming in here with this

t ignorance. _Don‘t you ever bring anything like this pin here, acting dumb and
putting»a'Federal~Court'~saddross“and¢an Awomey General-'s address on
here. you are in this court and this court only-. What is all of this about?"
The Clerk, Jan, sitting next to himl told him that it was a request for the
appointment of Counsel. He said, "Good God, in all my 28 years up here
onA this bench, |-have never seen such foolishness in my life, you trying to
be cute or something?" l was, of course, not given a chance to answer any
of these facetious questions He told me to be back in two weeks. He told
me, like he did everyone else before hlm, to hire an attorney, or that we'd
be tried without one.

At one point, just before sentencing a man to 60 days in jail, he told
him that getting an attorney is like buying a new car; you get a job and
make the payments on a new car. (The man had requested that an
attorney be appointed for his defense, but was refused and sentenced right
then.) The two really seem unrelated, buying a car and hiring an attomey. l
need both and can't afford either.

As l walked away, he blurted out further innuendos and degrading
comments: "Look a here, l can't believe this mess, l've never seen
anything like it. what is it, what? ls she afraid to work?

lt was most humiliating, embarrassing, and degrading to have all
eyes on me and to hear the snickering to humor the Judge.

The enclosed is what the case is about, but my request from this
Honorab|e Court is that l may receive the relief so due.

Respectfully submitted,

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Beverly Anne Brabham

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Tuesday, January 07, 2003 kam/03

U.S. District Court (Northem Division)
Birmingham, Aiabama

STATE OF ALABAMA
Attorney General Bill Pryor
Montgomery, Alabama

Judge Roy Landrum
Adamsville Municipal Court
Adameville, Alabama 35005

EMERGENCY HABEAS CORPUS REL|EF

|, Beverly Anne Brabham, come now before this Honorable Court in the
State of A|abama to present this emergency habeas corpus relief. The
reasons below will confirm that immediate relief is due:

Grounds for Relief
The judge in Adamsville, A|abama has refused to appoint counsel for my
defense. My abilityl inability to pay for an attorney has not been
considered. My Miranda Rights were not read to me.

on April 16, 2002, l was arrested out of my home for a DUi. An officer was
called by a neighbor, because they heard an argument between my
boyfriend and me. Officer Bentley arrived and asked me if we were
arguing. l said no, and walke_q in the hog§g. l had just sat down in the car
to remove a tape that was playing and tune in the radio for my boyfriend
who was in the yard. The keys were in the house, because the acc. switch
stays on when the key is removedr The knob.to lock the ignition is
broken. The carwas inoperable atthe time due to a bad hub bearing, left
front

l. was in the bathroom, .undres_sed and getting ready to take a shower`when
another officer, Henderson. who had arrived whilel was inside my home,
knocked on the bathroom door and wanted thetkeys to the,,car. lgot
dressed, got the keys from the kitchen drawer where they are kept, and
took them to him. He and officer Bentley saw a sandwich bag under the
tape in had removed. Bentley commented, "l think l can smell it". The
baggie contained change (coins) that l keep on the console. l felt that this
discovery angered officer Henderson. l mentioned that there are some
'rights' that people have when they are in their own home, yard, and private
property. Henderson immediately grabbed me and said that l was under

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arrest, (because he was angry). HENDERSON MADE AN ARREST FOR
DU|, AND l WAS IN MY HOME BEH|ND A LOCKED BATHROOM DQOR
WHEN HE ARR|VED.

| was NOT READ M¥ MlRANDA RlGHTS. My boyfriend even asked what |
was being arrested for and was estounded to hear the Officer say, DU|. l
had been in the house for aprroximately 20 minutes when he arrivedl l
was not in the car. They keys were in the house the entire day. The car
had not been driven due to the bad hub bearing, and we f[egugnth¢ use
the c§r sgreo and tag player while in the yard. My only conversation with
foicer Bentley was, "no, we are not arguing". However, the report was
done by him. He gave me a breathilizer 2 hours after Henderson's arrest l
saw it register very low. He threw the test away and sald, "You refused it."
l said, no l did not. He then printed out a 'refusal' sheet of paper. l
requested a blood andlor urine test, because even though this arrest was
frivolous, l could not have possibly registered anywhere near intoxicated. |
had had very little alcohol at the time. He refused both, even with my plea
that | wanted it for my defense. (Apparently the low results didn't suit him,
and this has been known to be done by other officers).

The house and yard are not visible from the public road, and |was inside
the (supposedly) privacy of my own home when arrested for DUl. The
driveway eisone-way»in,~one~way out. the yard is approximately 300 yards
from the road, and is in the woods. As stated earlier, we frequently use the
car stems when in the yard

Casg Actign to Dgg

May 20, 2002

l went to Court. The clerk stated that l was not on the Docket because they
were attempting to make this a felony offense. A felony offense for an
arrest an rcer who arrived nd ted me ou a l ked room
in my home!!l The case is being .handled.as.a misdemeanor.

November 19, 2002

l went back to court. l was being charged with a third DU|. The priors were
from 10 years ago and are not certified. | pled "NOT GU|LTY", of course,
and'was‘told"bythe Jcrdgeand'the-B. A.togeta"iawyer. 1 attempr
inform both that l was unable to afford an attorney, but was cut off by both
and not allowed to say anything.

December 17, 2002

l returned to court. l informed the judge that l did not have a lawyer and
could not afford one at the time. l asked him if he would appoint one. He
refused. He told me that he would give me until January 7, 2003 to get a
job and hire a lawyer. This seemed unreasonable because the week after

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was Christmas, then New Years, then the very next week, court.
lmpossible! Even if l got a job, l would be unable to afford an attorney at
the rates l was quoted by the ones that l called.

January 7, 2003

l filed a copy of this Habeas Corpus, prior to this court date, and l am now
adding to it. I went before the judge and, he immediately asked what this
was about. l stated that l am requesting the appointmenth an Attomey.
The Federal Court and Alabama Attorney Generai's addresses were already
on the request for relief.

HABEAS CORPUS

l, Beverly Brabham, am writing for this immediate action for relief and
release because it is illegal confinement l will literally be lN JA|L, without
representetion, because l am indigent, and the judge has refused to
appoint an attorney.
1. My Miranda rights were not read to me.
2. l had been inside the house a long while before the arresting officer

arrived, and he had no basis for the arrest. l was refused a blood andlor
urine test, after the Officer said l refused the test, which l D|D NOT
REFUSEl The fact is that l passed it, and he did not like the results.
3. My indigency and ability to hire an attorney has been ignored.
4. My constitutional due process rights are and have been violated.

5. The case and its merits have not been heard, NOR have l faced my
accusen

6. An arrest is NDT a conviction.

7. Constitutional Fundamental unfairness and Due Process violations.
CONCL iON

Based on the foregoing, l, Beverly Brabham, am due immediate Habeas

Corpus relief. l have been denied due process of the law, and lam

attempting to prevent being illegally incarcerated for being indigent, and

without representation by Counse|.

l pray that immediate action will be taken on this matter, as liberty was too
dearly bought by our forefathers for a United States citizen's Constitutional

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Right to due process to be so violated.

Respectfuliy submitted,

veriy Brabham
Pro Se (due toBe inability to afford an attomey)

